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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                CASE NO: 6:20-cr-97-GAP-LRH

JOEL MICAH GREENBERG


                                     ORDER

      Having received requests from members of the press, the Court waives the

prohibitions regarding electronics in the courthouse (See Local Rule 7.02) for the

limited purpose of allowing any member of the press to enter the courthouse with

a laptop computer, tablet, or cellular phone to attend any proceedings before the

undersigned held in this case. Any member of the press entering the courthouse

with a laptop, tablet, or cellular phone must present the Court Security Officers

with media credentials and a copy of this order and allow for a security inspection

of their equipment if requested by the officers.

      All cell phones must be turned off while in the courtroom, whether or not

court is in session. Live transmission of any kind from the courtroom by any

electronic device is prohibited. This prohibition includes, but is not limited to,

texting, emailing, tweeting, blogging, and messaging or posting via social media.

In addition, no audio or video recording is allowed in the courthouse at any time.
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      All inquiries by any member of the press shall be directed to Megan Mann

at 904-549-1915. Members of the press should not contact my chambers directly.

      DONE and ORDERED in Orlando, Florida on April 5, 2021.




Copies furnished to:

United States Marshal
United States Attorney
United States Probation Office
United States Pretrial Services Office
Counsel for Defendant




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